      Case 5:22-cr-00033-TKW-MJF     Document 91     Filed 03/16/23   Page 1 of 2




           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION

UNITED STATES OF AMERICA

vs.                                           Case No. 5:22-cr-33-TKW/MJF

WILLIAM KEITH CARTER
_________________________________________________________________

                     REPORT AND RECOMMENDATION
                      CONCERNING PLEA OF GUILTY

        The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to lesser included offenses contained in

Count One and Count Three of the Indictment. After cautioning and examining the

Defendant under oath concerning each of the subjects mentioned in Rule 11, I

determined that the guilty plea was knowing and voluntary, and that the lesser

included offenses charged are supported by an independent basis in fact containing

each of the essential elements of such offenses. I therefore recommend that the plea

of guilty be accepted and that the Defendant be adjudicated guilty and have sentence

imposed accordingly.

        Dated: March 16, 2023


                                 /s/ Michael J. Frank
                                 MICHAEL J. FRANK
                                 UNITED STATES MAGISTRATE JUDGE
    Case 5:22-cr-00033-TKW-MJF        Document 91     Filed 03/16/23    Page 2 of 2
                                                                           Page 2 of 2


                                       NOTICE

       Objections to these proposed findings and recommendations must be
       filed within twenty four (24) hours of the date of the report and
       recommendation. Any different deadline that may appear on the
       electronic docket is for the court’s internal use only, and does not
       control. A copy of objections shall be served upon all other parties. If a
       party fails to object to the magistrate judge’s findings or
       recommendations as to any particular claim or issue contained in a
       report and recommendation, that party waives the right to challenge on
       appeal the district court’s order based on the unobjected-to factual and
       legal conclusions. See 11th Cir. Rule 3-1; 28 U.S.C. § 636.




Case No.: 5:22-cr-33-TKW
